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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE


HEATHER THRASHER,

      Plaintiff

      v.                                        CIVIL ACTION: 1:15- cv -00005-DBH

GREYHOUND LINES
INCORPORATED,

      Defendant



                      VOLUNTARY STIPULATION OF DISMISSAL

       It is hereby stipulated and agreed by and between the parties and their respective

 counsel that the above-captioned action is dismissed with prejudice and without costs

 pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).


 DATED: June 10, 2016                            /s/ David P. Very
                                                 David P. Very, Esq.
                                                 Attorney for Defendant
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 DATED: June 10, 2016                            /s/David Kreisler
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                                                 David Kreisler
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                            CERTIFICATE OF SERVICE


        I hereby certify that on June 10, 2016, I electronically filed the foregoing
Voluntary Stipulation of Dismissal Pursuant to Federal Rule of Civil Procedure 16(b)(4)
with the Clerk of Court using the CM/ECF system which will send notification of such
filing(s) to all registered counsel of record.


                                               /s/David Kreisler
                                               Gary Goldberg
                                               David Kreisler
                                               Attorneys for Plaintiff
                                               Terry Garmey & Associates
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